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 5
     Attorney for: Thomas GARCIA
 6
 7
 8             IN THE UNITED STATES DISTRICT COURT FOR THE

 9                      EASTERN DISTRICT OF CALIFORNIA
10
11
12
     UNITED STATES OF AMERICA,             )       CR. No. CR-S 08-00392 GEB
13                                         )
14                      Plaintiff,         )       STIPULATION AND PROPOSED
                                           )       ORDER TO CONTINUE CHANGE
15               v.                        )       OF PLEA
16                                         )
     Thomas GARCIA,                        )
17
                                           )
18                      Defendant.         )       Hon. Judge Garland E. Burrell
19                                         )
                                           )
20
21         The defendant, Thomas Garcia, through his undersigned counsel, and the
22
     United States, through its undersigned counsel, hereby agree and request the
23
24   Change of Plea hearing currently set for Friday, April 16, 2010 at 9:00 a.m. be
25
     vacated and continued until Friday, May 7, 2010 at 9:00 a.m.
26
27
           A continuance is necessary to provide counsel with additional time for case

28   preparation and for ongoing plea and sentencing negotiations.



                                               1
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 1         The parties also stipulate that time should be excluded under the Speedy
 2   Trial Act due to the needs of counsel for continued case preparation and ongoing
 3
     plea and sentencing negotiations. Local Code T4 & 18 U.S.C § 3161 (h)(7)(B)(iv).
 4
 5         I, William E. Bonham, the filing party, have received authorization from
 6
     AUSA Mike Beckwith to sign and submit this stipulation and proposed order on
 7
 8   his behalf and that defense counsel has authorization from his respective client.
 9
           Accordingly, the defense and the United States agree and stipulate that the
10
11   Change of Plea hearing for defendant, Thomas Garcia, should be continued until
12   Friday, May 7, 2010 at 9:00 a.m. The parties stipulate that the ends of justice
13
14
     served by granting this continuance outweigh the best interests of the public and

15   defendant in a Speedy Trial. 18 U.S.C. § 3161(h)(7)(A).
16
     Dated: April 15, 2010
17
18                                                 BENJAMIN B. WAGNER
19
                                                   United States Attorney

20                                                 By:/s/ WILLIAM E. BONHAM for
21                                                 MIKE BECKWITH
                                                   Assistant U.S. Attorney
22
     Dated: April 15, 2010
23
24                                                 By:/s/ WILLIAM E. BONHAM for
                                                   WILLIAM E. BONHAM
25                                                 Counsel for Defendant
26                                                 THOMAS GARCIA
27
28




                                               2
                Case 2:08-cr-00392-GEB Document 280 Filed 04/19/10 Page 3 of 3



 1                                           ORDER
 2            IT IS SO ORDERED THAT THE Change of Plea hearing for defendant,
 3
     Thomas Garcia, currently set for Friday, April 16, 2010 at 9:00 a.m. should be
 4
 5   vacated and continued to Friday, May 7, 2010 at 9:00 a.m.
 6
              I find that the continuance is necessary due to the needs of counsel for
 7
 8   continued case preparation and plea/sentencing negotiations. Accordingly, time is
 9
     excluded under the Speedy Trial Act, due to needs of counsel for additional case
10
11   preparation and ongoing plea/ sentencing negotiations, from April 16, 2010 up to
12
     and including May 7, 2010 pursuant to Local Code T4 and 18 U.S.C. §
13
14
     3161(h)(7)(B)(iv). I find that the ends of justice served by granting this

15   continuance outweigh the best interest of the public and defendant in a speedy trial.
16
     18 U.S.C. § 3161(h) (7)(A).
17
     Dated: April 16, 2010
18
                                           GARLAND E. BURRELL, JR.
19                                         United States District Judge
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